          Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 1 of 12



                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
JASON LEOPOLD, BUZZFEED, INC.,       )
                                     )
                  Plaintiffs,        )
                                     )
             v.                      )  Civil Action No. 19-cv-957 (RBW)
                                     )
UNITED STATES DEPARTMENT OF          )
JUSTICE, et al.,                     )
                                     )
                  Defendants.        )
___________________________________ )

    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY
        INJUNCTION AND DEFENDANTS’ MOTION TO VACATE HEARING

         On March 29, 2019, the Attorney General informed Congress and the public that he

anticipates that the report issued by Special Counsel Robert S. Mueller, III to the Attorney General

pursuant to 28 C.F.R. § 600.8 (the “Mueller Report”) will be released “by mid-April, if not sooner.”

Ex. 1 (letter from the Attorney General (Mar. 29, 2019)). Less than a week later, Plaintiffs, Jason

Leopold and Buzzfeed, Inc., filed a motion for a preliminary injunction, seeking an order

compelling Defendant, the Department of Justice (the “Department” or “DOJ”), to “process

Plaintiffs’ FOIA request for the Mueller Report and produce all non-exempt portions of the Report

by April 18, 2019.” Pls.’ Mot. 1, Dkt. 5.

         Plaintiffs’ motion should be denied. The Court recently denied a nearly identical request

for a preliminary injunction for the release of the Mueller Report by a date certain, finding that the

plaintiff, the Electronic Privacy Information Center (“EPIC”), failed to establish irreparable harm. 1

See Order, Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 9, 2019), Dkt.


1
 Because Plaintiffs make the same arguments as the plaintiff in Electronic Privacy Information Center v. Department
of Justice, Defendants incorporate by reference their opposition brief and supporting declaration from that case. See
Def.’s Opp., Decl., Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 5, 2019), Dkt. 19, 19-1.

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         Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 2 of 12



24. Plaintiffs allege the same harm as EPIC. Compare Pls.’ Mot. 3–4, with Pl.’s Mem. 25–30,

Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 9, 2019), Dkt. 7-1, and

Pl.’s Reply 10–14, Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 8,

2019), Dkt. 21. And like EPIC, Plaintiffs cannot establish irreparable harm, particularly in light

of the Attorney General’s anticipated mid-April release date, see Ex. 1, and his recent testimony

that the report will be “color code[d]” with “explanatory notes describing the basis for each

redaction,” 2 thus providing virtually all the relief Plaintiffs would receive under the FOIA.

Therefore, the Court should likewise deny Plaintiffs’ motion for failure to establish irreparable

harm. In addition, because Plaintiffs allege the same harm as EPIC—which the Court already

found insufficient to establish entitlement to a preliminary injunction—Defendants respectfully

request that the Court deny Plaintiffs’ motion on the papers and vacate the hearing set for April

16. 3

        Accordingly, the Court should deny Plaintiffs’ motion on the papers for failure to establish

irreparable harm, consolidate this case with Electronic Information Privacy Center v. Department

of Justice, No. 19-810, and order Plaintiffs to appear at the same status conference with EPIC on

May 2, 2019, “to discuss how the parties wish to proceed in this case.” Order, Elec. Privacy Info.

Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 9, 2019), Dkt. 24.

                                             BACKGROUND

        On March 21, 2019, Plaintiff Jason Leopold submitted a FOIA request to the Department

of Justice. See Compl. Ex. A, Dkt. 1-1 (FOIA request). In that request, Mr. Leopold sought what



2
   See Testimony of Attorney General William Barr (Apr. 9, 2019), available at https://www.c-
span.org/video/?459560-1/attorney-general-barr-expects-release-mueller-report-week&live=&start=1378 (last
visited Apr. 12, 2019).
3
  Pursuant to Local Rule 7(m), on April 12, 2019, undersigned counsel conferred with counsel for Plaintiffs, who
stated that Plaintiffs oppose Defendants’ motion to vacate the hearing.

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          Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 3 of 12



is now referred to as the Mueller Report—which did not exist at the time. 4 See id.; see also Ex. 2

(letter from the Attorney General (Mar. 22, 2019)). Specifically, the request sought the following:

         A copy of the FINAL REPORT prepared by the Office of Special Counsel Robert
         Mueller relating to the Office’s investigation into: any links and/or coordination
         between the Russian government and individuals associated with the campaign of
         President Donald Trump; and (ii) any matters that arose or may arise directly from
         the investigation; and (iii) any other matters within the scope of 28 C.F.R.
         § 600.4(a).

Compl. Ex. A, Dkt. 1-1 (FOIA request). Mr. Leopold also requested expedited processing of his

FOIA request. Id. at 2.

         On March 29, 2019, the Department of Justice’s Office of Information Policy (“OIP”)

acknowledged receipt of Mr. Leopold’s FOIA request. Compl., Ex. B at 1 (letter from the

Department of Justice to Mr. Leopold (Mar. 29, 2019)). In that letter, OIP granted Mr. Leopold’s

request for expedited processing, noting that OIP is “currently processing other requests seeking

records similar to those [Mr. Leopold has] requested, which have already been granted expedited

processing.” Id. OIP also stated that the FOIA request fell within “unusual circumstances”

because the records that Mr. Leopold sought required searches in and/or in consultation with other

offices and/or the request involves a voluminous amount of material. Id. (quoting 5 U.S.C.

§ 552(a)(6)(B)(i)–(iii)). Accordingly, OIP informed Mr. Leopold that the request had been placed

in the complex processing track and that OIP would “need to extend the time limit to respond to

[his] request beyond the ten additional days provided by the statute.” Compl., Ex. B at 1.




4
  It was not until March 22, 2019, that the Attorney General informed Congress that the Special Counsel “has
concluded his investigation of Russian interference in the 2016 election and related matters” and had “submitted to
me today a ‘confidential report explaining the prosecution or declination decisions’ he has reached, as required by 28
C.F.R. § 600.8(c).” Ex. 2.

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           Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 4 of 12



                                             ARGUMENT

  I.      Standard of Review

          “A preliminary injunction is an extraordinary and drastic remedy.” Munaf v. Green, 553

U.S. 674, 689 (2008). It “should be granted only when the party seeking the relief, by a clear

showing, carries the burden of persuasion.” Cobell v. Norton, 391 F.3d 251, 258 (D.C. Cir. 2004).

A party moving for a preliminary injunction must establish (1) a substantial likelihood of success

on the merits; (2) that it would suffer irreparable injury if the injunction is not granted; (3) that an

injunction would not substantially injure other interested (nonmoving) parties; and (4) that the

public interest would be furthered by the injunction. CityFed Fin. Corp. v. Office of Thrift

Supervision, 58 F.3d 738, 746 (D.C. Cir. 1995). When, as here, a movant seeks mandatory

injunctive relief, i.e., an injunction that “would alter, rather than preserve, the status quo by

commanding some positive act—the moving party must meet a higher standard than in the

ordinary case by showing clearly that he or she is entitled to relief or that extreme or very serious

damage will result from the denial of the injunction.” Elec. Info. Privacy Ctr. v. U.S. Dep’t of

Justice, 15 F. Supp. 3d 32, 39 (D.D.C. 2014).

 II.      Plaintiffs Have Failed to Meet Their Heavy Burden to Show Entitlement to
          Emergency, Mandatory Relief

          A.     Plaintiffs Have Failed to Establish that They Will Suffer Irreparable
                 Harm

          The D.C. Circuit “has set a high standard for irreparable injury.” In re Navy Chaplaincy,

534 F.3d 756, 766 (D.C. Cir. 2008) (internal quotation marks and citation omitted). Plaintiffs fail

to meet this high standard, just as this Court found in denying EPIC the same requested emergency

relief.

          Plaintiffs argue that “[b]ecause ‘timely public awareness’ is a ‘structural necessity in a real

democracy,’ there can be no dispute that Plaintiffs and the public will suffer irreparable harm.”

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         Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 5 of 12



Pls.’ Mot. 3–4 (quoting Elec. Privacy Info. Ctr. v. Dep’t of Justice, 416 F. Supp. 2d 30, 40–41

(D.D.C. 2006)). But the Court recently rejected a nearly identical argument in EPIC. In that case,

EPIC argued that it would suffer irreparable harm by not immediately getting records that are “at

the center of a critical national debate” because “stale information is of little value.” Pl.’s Mem.

25, Pl.’s Reply 10, Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 8,

2019), Dkt. 7-1, 21. The Court disagreed, finding that EPIC “has not satisfied its burden of

demonstrating that it faces irreparable harm in the absence of an injunction.” Order, Elec. Privacy

Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 9, 2019), Dkt. 24; see also Elec. Privacy

Info. Ctr. v. Dep’t of Justice, 15 F. Supp. 3d 32, 46–47 (D.D.C. 2014) (stating that it is “clear from

case law that a movant’s general interest in being able to engage in an ongoing public debate using

information that it has requested under FOIA is not sufficient to establish that irreparable harm

will occur unless the movant receives immediate access to that information”).

         There is no reason to reach a different result in this case. That is especially true given the

Attorney General’s statement that he anticipates release of the report by mid-April, see Ex. 1, and

his recent testimony that the report will be color coded with explanatory notes describing the basis

for each redaction, see supra n.2. A redacted report identifying the basis for the redactions is

essentially what Plaintiffs would receive under the FOIA. See Elec. Info. Privacy Ctr., 15 F. Supp.

3d at 45 (“[I]t is hard to conceive of any irreparable harm that EPIC will suffer from this relatively

short period of additional delay.”); Daily Caller v. Dep’t of State, 152 F. Supp. 3d 1, 13 (D.D.C.

2015) (finding no irreparable harm when plaintiff’s requested injunction would compel production

of the sought-after materials, at most, only marginally sooner than the agency has indicated it

intends to complete its processing of the plaintiff’s request without such compulsion”). Even if

the FOIA processing of the report resulted in less information being redacted than the Attorney



                                                  5
          Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 6 of 12



General’s processing—a result that is unlikely given the Attorney General’s commitment to as

much transparency as consistent with law, see, e.g., Ex. 1, Ex. 2—Plaintiffs cannot plausibly allege

to be irreparably harmed in getting virtually the same document they would get under FOIA in

within the time frame promised by the Attorney General.

         Plaintiffs have failed to meet their heavy burden of showing of irreparable harm, and for

this reason alone their motion for emergency injunctive relief should be denied. See Order, Elec.

Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 9, 2019), Dkt. 24.

         B.       Plaintiffs Have Failed to Establish a Likelihood of Success on the
                  Merits

         Plaintiffs argue that they are likely to succeed on the merits because the Department is not

processing their request “as soon as practicable.” Pls.’ Mot. 2. Plaintiffs incorrectly contend that

“there is a rebuttable presumption that it must be processed within the statute’s default 20-

business-day deadline,” and that the Department has failed to show that disclosure within this time

period is not practicable. Id. at 2–3. Even if Plaintiffs were correct, however, their argument fails

for multiple reasons.

         First, the 20-working day time period—to which even Plaintiffs claim the government is

entitled—has not yet even run. Mr. Leopold filed his FOIA request on March 21, Compl. Ex. A,

even though the Mueller Report did not yet exist, see Ex. 2. Twenty working days from March 21

is April 18. And the Office of Information Policy found that Mr. Leopold’s “request falls within

‘unusual circumstances,’” under 5 U.S.C. § 552(a)(6)(B)(i), which permits an agency to extend

the time to issue a determination on the request by ten additional working days. 5 See Compl. Ex.


5
  Plaintiffs suggest that the reasons set forth by OIP for invoking the statutory extension are insufficient to constitute
“unusual circumstances.” Pls.’ Mot. 3. But OIP determined that the records that Mr. Leopold sought required searches
in and/or in consultation with other offices and/or the request involves a voluminous amount of material. Compl. Ex.
B. In addition, the declaration of Vanessa Brinkman in the EPIC matter describes the burden under which OIP is
operating and the hundreds of requests seeking information related to the Mueller investigation. See Brinkmann Decl.,
Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 5, 2019), Dkt. 19-1.

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          Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 7 of 12



B. With the extra ten working days to which the Department is entitled, the time to issue a

determination is not until May 2. 6 Thus, Plaintiffs cannot possibly establish that Defendants have

failed on the merits to meet any statutory processing deadline, even for expedited processing,

which requires processing “as soon as practicable.” 5 U.S.C. § 552(a)(6)(E)(iii).

          Second, even if the time period had run for the Department to issue a determination on

Mr. Leopold’s FOIA request, the consequence for a violation of a processing timeline is that

Plaintiffs are entitled to file suit in district court, and their suit is not barred by a defense that the

Plaintiffs have not exhausted administrative remedies. Citizens for Responsibility & Ethics in

Wash. v. Fed. Election Comm’n, 711 F.3d 180, 189 (D.C. Cir. 2013) (“CREW”) (“If the agency

does not adhere to FOIA’s explicit timelines, the ‘penalty’ is that the agency cannot rely on the

administrative exhaustion requirement to keep cases from getting into court.”). Indeed, “nothing

in the FOIA statute establishes that an agency’s failure to comply with this 20–day deadline

automatically results in the agency’s having to produce the requested documents without continued

processing, as [Plaintiffs] suggest[].” Elec. Info. Privacy Ctr., 15 F. Supp. 3d at 40; see also Daily

Caller, 152 F. Supp. 3d at 10 (“FOIA does not require production of all responsive, non-exempt

documents within twenty days of receiving a request.”). Instead, if an agency “need[s] more time

to respond to a particularly burdensome request,” “the agency may continue to process the request,

and the court (if suit has been filed) will supervise the agency’s ongoing progress, ensuring that

the agency continues to exercise due diligence in processing the request.” CREW, 711 F.3d at 189

(citing 5 U.S.C. § 552(a)(6)(C)).




6
  “To be clear, a ‘determination’ does not require actual production of the records to the records at the exact same time
that the ‘determination’ is communicated to the requestor. Under the statutory scheme, a distinction exists between a
‘determination’ and subsequent production.” Citizens for Responsibility & Ethics in Wash. v. Fed. Election Comm’n,
711 F.3d 180, 188 (D.C. Cir. 2013).

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          Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 8 of 12



        Third, Plaintiffs’ reliance on Electronic Privacy Information Center v. Department of

Justice, 416 F. Supp. 2d 30, 35 (D.D.C. 2006) (“EPIC I”), to argue that an agency’s failure to

process a FOIA request within 20 days constitutes a per se violation of the law that entitles the

requester to get the requested records immediately, is wholly misguided. 7 “[T]he judge in EPIC I

did not have the benefit of the D.C. Circuit’s decision in CREW, and in particular, its holding

regarding the specific consequences that attach to an agency’s failure to meet the 20–day

timeframe.” Elec. Info. Privacy Ctr., 15 F. Supp. 3d at 42. Moreover, the “judge in EPIC I relied

on a ‘presumption of agency delay’ that the judge believed had arisen simply and solely because

DOJ had failed to respond to EPIC’s expedited FOIA request within 20 days” and “DOJ had not

presented any evidence regarding the impracticability of such a rapid response to the EPIC I

court.” 8 Id.; see also Daily Caller, 152 F. Supp. 3d at 11 (finding that the EPIC I “court’s holding

rested heavily on the agency’s failure to offer any evidence that such disclosure was

impracticable”).

         Here, the Attorney General has set forth the process the Department is undertaking to

prepare the nearly 400-page report for release. See, e.g., Ex. 1, Ex. 2. And the Department’s

declarant, Vanessa Brinkmann, has explained that “it is not practicable for the Department to

process the report for release to Plaintiff[s] in response to Plaintiff[s’] FOIA request any earlier

than the timeframe the Attorney General has already provided” because after the report is released


7
  Plaintiffs also rely on the “DOJ FOIA Guide” for this proposition. See Pls.’ Mot. 2. But that guide merely
summarizes the holding of EPIC I and does not provide any independent support for Plaintiffs’ argument. See
Procedural Requirements 39, Dep’t of Justice Guide to the Freedom of Information Act, available at
https://www.justice.gov/sites/default/files/oip/legacy/2014/07/23/procedural-requirements.pdf (last visited Apr. 12,
2019).
8
  Notably, the EPIC I Court later modified its processing deadline based on classified affidavits that DOJ submitted
regarding its processing capacity. See EPIC I, No. 06–cv–96, Order, ECF No. 18 (Mar. 24, 2006) (extending certain
processing deadlines and ordering that Vaughn indices need not be created at that time); see also Protect Democracy
Project v. Dep’t of Defense, 263 F. Supp. 3d 293, 302 n.7 (D.D.C. 2017) (recognizing that the EPIC I Court later
reconsidered its order allowing defendants additional time for processing).

                                                         8
         Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 9 of 12



by the Attorney General, the Department will need to undergo a review of the report for disclosure

under the FOIA. Brinkmann Decl. ¶ 31, Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-

810 (D.D.C. Apr. 5, 2019), Dkt. 19-1. Thus, even if a presumption of delay exists, no such

presumption even arguably arises on the facts of the instant case.

        Accordingly, because Plaintiffs cannot show a likelihood of success on the merits—indeed,

to the contrary—their motion for a preliminary injunction should be denied. See Daily Caller, 152

F. Supp. 3d at 10 (“The plaintiff’s request for an order requiring the agency to complete production

of all records responsive to its various FOIA requests within twenty days therefore finds no support

in either the statute or binding precedent, significantly undermining the plaintiff’s contention that

it is likely to prevail in its effort in the Complaint to obtain such relief.”).

        C.      The Balance of Equities and the Public Interest Weigh Against a
                Preliminary Injunction

        For all the reasons set forth at length in the government’s opposition to EPIC’s motion for

preliminary injunction, the relief Plaintiffs seek is not in the public interest and would harm

nonlitigants, and for these reasons as well, Plaintiffs’ motion should be denied. See Def.’s Opp.

25–29, Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-cv-810 (D.D.C. Apr. 5, 2019), Dkt. 19.

        The Attorney General’s March 29 letter indicated that he anticipates release of the report

by mid-April and he testified that the report will be color coded with explanatory notes describing

the basis for each redaction. The public interest is best served by permitting the expeditious

processing and release of that report, without diverting resources with unnecessary and unjustified

litigation.

III.    The Court Should Vacate the Hearing on Plaintiffs’ Motion

        The Court set a hearing on Plaintiffs’ motion for April 16. Pursuant to Local Rule 65.1(d),

a hearing on a motion for a preliminary injunction is not necessary if the “Court earlier decides the


                                                    9
        Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 10 of 12



motion on the papers.” Indeed, this Court has recognized that “[a] court may deny a plaintiff’s

application for a . . . preliminary injunction without first providing a hearing on the merits when

the record is sufficient to demonstrate a lack of right to relief.” Nat’l Propane Gas Ass’n v. U.S.

Dep’t of Homeland Sec., 534 F. Supp. 2d 16, 19 (D.D.C. 2008) (quoting Smith v. Harvey, No. 06–

1117(RWR), 2006 WL 2025026, at *2 (D.D.C. July 17, 2006)). Because Plaintiffs raise the same

arguments as EPIC—particularly with respect to irreparable harm, which was the basis of the

Court’s order denying EPIC’s motion for a preliminary injunction—the Court should vacate the

hearing and deny Plaintiffs’ motion on the papers.

                                        CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ Motion for a Preliminary

Injunction, vacate the hearing set for April 16, consolidate this case with Electronic Information

Privacy Center v. Department of Justice, No. 19-810, and order Plaintiffs to appear at the status

conference on May 2, 2019, to discuss how the parties wish to proceed in this case.



Dated: April 12, 2019                        Respectfully submitted,

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                                                10
Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 11 of 12



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                            Counsel for Defendant




                              11
        Case 1:19-cv-00957-RBW Document 15 Filed 04/12/19 Page 12 of 12



                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2019, I electronically transmitted the foregoing to the

parties and the clerk of court for the United States District Court for the District of Columbia using

the CM/ECF filing system.



                                               /s/ Courtney D. Enlow
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